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                    IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE SOUTHERN DISTRICT OF MISSISSIPPI

 IN RE: KENEKA M. GARRISON,                                         CASE NO. 19-50433-KMS
                 Debtor                                                        CHAPTER 7

 KIMBERLY R. LENTZ, as Chapter 7 Trustee for
 The Bankruptcy Estate of Keneka M. Garrison,                                         PLAINTIFF
 Debtor

 v.                                                         ADV. PROC. NO. 19-06037-KMS

 THE LAW OFFICES OF ROBERT S. GITMEID &
 ASSOCIATES, PLLC                                                                DEFENDANT

                          NOTICE OF SERVICE OF DISCOVERY

TO:      THE LAW OFFICES OF ROBERT S. GITMEID & ASSOCIATES, PLLC:

         Notice is hereby given that Plaintiff, Kimberly R. Lentz, Chapter 7 Trustee for the

Bankruptcy Estate of Keneka M. Garrison, has this date served in the above entitled action the

following discovery:

         1. Plaintiff’s First Set of Interrogatories to the Law Offices of Robert S. Gitmeid &

Associates, PLLC.

         2. Plaintiff’s First Request for Production of Documents and Things to the Law Offices

of Robert S. Gitmeid & Associates, PLLC.

         3.   Plaintiff’s First Set of Request for Admissions to the Law Offices of Robert S.

Gitmeid & Associates, PLLC.

                       This the 10th day of July 2020.

                              Respectfully submitted,


                              /s/Jason Graeber.
                              Jason Graeber Attorney for Trustee, Kimberly R. Lentz
                              2496 Pass Road


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                               jason@jasongraeberlaw.com



                                  CERTIFICATE OF SERVICE

I, Jason Graeber, attorney for the Trustee, do hereby certify that I electronically filed a notice of
discovery with the Court via the ECF system, which provides notification of said filing to all
counsel of record.

                                                       /s/Jason Graeber      .
                                                       Jason Graeber



       Dated, this 10th day of July 2020.




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